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                            IN THE UNITED STATES DISTRTCT COURT
                                FOR THE DISTRICT OF COLORADO

     Criminal Action No.: 20-cr-28-RM-2

     UNITED STATES OF AMERICA,

            Plaintiff,

     V.


     2.    KENIA VALLEJO.GALLO,

           Defendant.


                                       PLEA AGREEMENT


           The United States of America, by and through Cyrus y. Chung, Assistant United

    States Attorney, and the defendant, Kenia Vallejo-Gallo, personally and by counset,

    Richard Banta, submit the following plea Agreement pursuant to D.C.COLO.LCTR 11.1.

                                        I. AGREEMENT
           A.       Defendant's plea of Guilty:

           The defendant agrees to: (1) plead guilty to Count Two of the First Superseding

    lndictment [ECF No. 72], charging a violation of 21 U.S.C. S g46, conspiracy to

    distribute and possess with intent to distribute controlted substances; (2) admit the

    forfeiture allegation contained in the First Superseding lndictment
                                                                          [ECF No. 72]; and, (3)
    waive certain appellate rights as described below.

          B.       Government's Obligations:

          ln exchange for the defendant,s plea of guilty, the United States agrees to:

    (1) recommend the Court give the defendant full credit for acceptance of responsibility

    per U.S. Serurcrucrruc GUIDELINEs MANUAL
                                               S 3E1.1, unless the defendant engages in




                                                                                  Court Exhibit 1
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     conduct that qualifies for the obstruction of justice enhancement under SS 3C1.1 and

     3E1.1, cmt. n.4, between the time of the guilty plea and sentencing; and (2) move to

     dismiss the remaining counts of the First Superseding lndictment (counts 23,27,31, 36,

     and 50) and the lndictment as to the defendant at the time of sentencing.

           C.     Defendant's Waiver of Appeal

           The defendant is aware that 18 U.S.C. S 3742 affords the right to appeat the

     sentence, including the manner in which that sentence is determined. Understanding

     this, and in exchange for the concessions made by the Government in this agreement,

    the defendant knowingly and voluntarily waives the right to appeal any matter in

    connection with this prosecution, conviction, or sentence unless it meets one of the

    following criteria: (1) the sentence exceeds the advisory guideline range that applies to

    a total offense level of 35; or (2) the Government appeals the sentence imposed. lf any

    of these criteria apply, the defendant may appeal on any ground that is properly

    available.in an appeal that follows a guilty plea.

           The defendant also knowingly and voluntarily waives the right to challenge this

    prosecution, conviction, or sentence in any collateral attack (including, but not limited to,

    a motion brought under 28 U.S.C. S 2255). This waiver provision does not prevent the

    defendant from seeking relief otherwise available in a collateral attack on any of the

    following grounds: (1) the defendant should receive the benefit of an expliciily

    retroactive change in the sentencing guidelines or sentencing statute; (2) the defendant




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    was deprived of the effective assistance of counsel; or (3) the defendant was prejudiced

    by prosecutorial misconduct.

           Should the plea of guilty be vacated on the motion of the defendant, the

    government may, in its sole discretion, move to reinstate any or all of the counts

    dismissed pursuant to this agreement.

           D.     Forfeiture of Assets

           The defendant agrees to admit the forfeiture allegation in the First Superseding

     lndictment IECF #72J. The defendant agrees to forfeit to the United States immediately

    and voluntarily any and all property, or portions thereof, subject to forfeiture, pursuant to

    21 U.S.C. S 853, whether in the possession or control of the United States or in the

     possession or control of the defendant or defendant's nominees, or elsewhere. The

    assets to be forfeited specifically include, but are not limited to: $4,205 in United States

    currency. The defendant agrees and consents to the forfeiture of these assets pursuant

    to any federal criminal, civil, and/or administrative forfeiture action.

           The defendant understands that pursuant to 18 U.S.C. S 983, the seizing agency

    is required to send notice in non-judicial civilforfeiture matters. Having been advised of

    said rights regarding notice, the defendant hereby knowingly and voluntarily waives her

     rights to notice being sent within the time frames in 18 U.S.C. S 983 and to having the

     property returned to her if notice is not sent within the prescribed time frames. The

    defendant waives all constitutional, legal and equitable claims arising out of and/or

    defenses to the forfeiture of this property in any proceeding, including any claim of


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     innocent ownership and any claim or defense under the Eighth Amendment, including

     any claim of excessive fine. The defendant agrees not to petition or assist anyone else

     in petitioning for the remission or mitigation of the forfeiture.

            The defendant admits and agrees that the conduct described in the Stipulation of

     Facts below provides a sufficient factual and statutory basis to establish that the

     requisite nexus exists between the specific property subject to forfeiture and the oflense

    to which defendant is pleading guilty. Pursuant to Fed. R. Crim, P. 32.2(bX1), the

     United States and the defendant request that at the time of accepting this plea

    agreement, the Court find that the govemment has established the requisite nexus and

    enter a preliminary order of forfeiture.

            The defendant agrees that the United States is not limited to forfeiture of the

    property described above. lf the United States determines that property of the

    defendant identified for forfeiture cannot be located upon the exercise of due diligence;

    has been transfened or sold to, or deposited with, a third party; has been placed

    beyond the jurisdiction of the Court; has been substantially diminished in value; or has

    been commingled with other property which cannot be divided without difficulty; then the

    United States shall be entitled to foffeiture of any other propefi (substitute assets) of

    the defendant up to the value of any property described above pursuant to 21 U.S.C.

    $ 853(p) and Fed. R. Crim. ?.32.2(e). This Court shall retain jurisdiction to settle any

    disputes arising from application of this clause. The defendant agrees that forfeiture of




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    substitute assets as authorized herein shall not be deemed an alteration of the

    defendant's sentence.

              Forfeiture of the defendant's assets shall not be treated as satisfaction of any

    fine, restitution, cost of imprisonment, or any other penatty this Court may impose upon

    the defendant in addition to forfeiture.

              ln addition to forfeiture, the defendant further agrees to relinquish all claim, tifle

    and interest she has in the above-mentioned property from the defendant to the United

    States.

                                   [. ELEMENTS OF THE OFFENSE
              The parties agree that the elements of the offense to which this plea is being

    tendered are as follows:

              First         Two or more persons agreed to violate the federal drug laws;
              Second:       The defendant knew the essential objective of the conspiracy;
              Third:        The defendant knowingly and voluntarily involved herself in the
                            conspiracy;
              Fourth:       There was interdependence among the members of the conspiracy;
                            and
              Fifth:        The overall scope of the conspiracy involved at least 500 grams or
                            more of a mixture or substance containing a detectable amount of
                            methamphetamine or at least 50 grams or more of
                            methamphetamine (actual).     1




    1 l%h Circuit Pattern Jury lnstrucfions
                                                S 2.87, Controlled Substances-Conspiracy
    (2018).
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                                  III. STATUTORY PENALTIES
           The statutory penalty for Count 2 is not less than 10 years, not more than tife

     imprisonment; not more than a $10,000,000 fine, or both; not less than 5 years, not

     more than a lifetime of supervised release; and a 9100 special assessment fee. lf a

    term of probation or supervised release is imposed, any violation of the terms and/or

    conditions of supervision may result in an additional term of imprisonment.

                              IV. COLLATERAL CONSEQUENCES
           The conviction may cause the loss of civil rights, including but not limited to the

    rights to possess firearms, vote, hold elected office, and sit on a jury. lf the defendant is

    an alien, the conviction may cause the defendant to be deported and removed from the

    United States or confined indefinitely if there is no country to which the defendant may

    be deported, to be denied admission to the United States in the future, and to be denied

    citizenship.

                                  v._gTtPULATtON OF FACTS

           The parties agree that there is a factual basis for the guilty plea that the

    defendant will tender pursuant to this plea agreement. That basis is set forth below.

    Because the Court must, as part of its sentencing methodology, compute the advisory

    guideline range for the offense of conviction, consider relevant conduct, and consider

    the other factors set forth in 18 U.S.C. S 3553, additional facts may be included below

    which are pertinent to those considerations and computations. To the extent the parties




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    disagree about the facts set forth below, the stipulation of facts identifies which facts are

    known to be in dispute at the time of the execution of the plea agreement.

           This stipulation of facts does not preclude either party from hereafter presenting

    the Court with additional facts which do not contradict facts to which the parties have

    stipulated and which are relevant to the Court's guideline computations, to other 18

     U.S.C. S 3553 factors, or to the Court's overall sentencing decision.

           The parties agree the facts are as follows:

           From at least March 19, 2019 until February 12,2020, Candelaria Vallejo-Gallo,

    based in Aurora and Denver, within the District of Colorado, organized the interstate

    transportation and local distribution of large quantities of illegal drugs. Candelaria

    Vallejo-Gallo worked with Mexico-based sources of supply to arrange pickups of illegat

    drugs from California-based intermediaries working with and for those Mexico-based

    sources of supply and, during the course of the FBI's investigation into her activities,

    ananged for the transport of large quantities of methamphetamine, heroin, cocaine, and

    fentanyl. To effectuate her scheme of drug distribution, Candelaria Vallejo-Gallo

    employed a network of co-conspirators, including interstate load runners, local runners,

    local multi-pound drug customers (who would, in turn, distribute to lower-level drug

    distributors), and tieutenants to coordinate the activities of the aforementioned co-

    conspirators.

           The defendant was one of Candelaria Vallejo-Gallo's daughters and served as a

    lieutenant to her during the course of the conspiracy. On July 22,2019, co-defendants


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    Michelle Josefina Castaneda and Beatriz Adriana Martinez-Meza were stopped in a

    Chevyv Cruze near Grand Junction, Colorado by the Colorado State Patrol, carrying a

    load of approximately 90 pounds of methamphetamine, 4.5 pounds of cocaine,2.3

    pounds of heroin, and 1 .3 pounds of fentanyl. Some of those drugs were sent for

    testing from the DEA Western Laboratory. Approximately eight kilograms of the

     methamphetamine were tested, which revealed that it was 99% pure for a total of 7,965

    grams of methamphetamine (actual). Further testing showed 1,951.2 grams of cocaine,

     994.4 grams of heroin, and 530.3 grams of fentanyl pills. Following the stop, at

    approximately 9:23 am that day, the defendant spoke via cellular telephone with her

     mother and discussed a course of action following the arrests of Martinez-Meza and

     Castaneda. They discussed the fact that Martinez-Meza and Castaneda had been

    stopped, the use of canines in Utah law enforcement, and the defendant's efforts to

     locate records of the arrest. The defendant agreed to continue to look for court records

     indicating where the arrest had occured.

           On September 7 ,2019, the defendant engaged in a conversation via cellular

    telephone with co-defendant Enrique Montoya-Arce, a Mexico-based intermediary

     between Candelaria Vallejo-Gallo's organization and Mexican sources of supply for

     drugs. They discussed the timing and the source of funds being directed to Mexico for

     drugs being provided to the Denver-based drug trafficking organization.

           On October 13,2019, the defendant engaged in another conversation via cellular

     telephone with Montoya-Arce. ln this conversation, she discussed a meeting she had


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    with co-defendant Omar Rivas-Saenz the day before in which Rivas-Saenz entrusted

    his customer list to her and asked her to help collect money owed to him for drugs from

    those customers. She discussed the fact that her mother, Candelaria, had "cholos" that

    they could use in order to "bill" those customers and asked Montoya-Arce whether he

    would cross the border into the United States in order to aid her with distribution to and

     money collection from Rivas-Saenz's former customers.

           On November 20,2019, an FBI confidential human source called Candelaria

    Vallejo-Gallo to confirm a purchase of methamphetamine. The purchase occurred at a

     parking lot in Aurora. After the confidential source arrived there, the defendant arrived

     in a Range Rover and conversed with the source through each vehicle's respective

     open windows. Co-defendant Javier Alejandro Vallejo-Gallo then exited the Range

     Rover and got into the source's vehicle, where he placed a brown bag of

     methamphetamine on the floorboard behind the passenger seat. The source paid for

     the drugs with $2,200 of agency funds. The substance tested positive for

     methamphetamine with a weight of M51 g at 80% purity, for a total of 356.5 grams of

     methamphetamine.

            On January 22,2020, at approximately 2:45 PM, FBI Agents intercepted a call

     from Candelaria Vallejo-Gallo inquiring about an undelivered package in which she

     provided the tracking number and delivery address. Later that day, FBI agents and task

     force officers responded to leasing office for the address, which was in Denver,

     Colorado. After contacting office staff, they determined the next day that the package in


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     question was being held by the leasing office for the address because no apartment unit

     number was listed on the package and the name on the package, "Joseph Garcia," did

     not match a resident of the apartment complex. The defendant, who was a resident of

     the apartment complex, and co-defendant Eber Uriel Perez-Ramirez had attempted to

     pick up the package, but because the name on the package did not match their

     identities, management would not allow them to do so. After agents contacted

     management, a canine from the Denver Police Department (DPD) performed a dog sniff

     on the package in question, and the dog alerted on the package. The FBI seized and

     searched the package pursuant to a warrant and, once the package was open, four

     packages were discovered in a backpack. The packages were submitted to the DEA

     Western Laboratory for further testing, which revealed that they contained 8,897 grams

     of 65% pure methamphetamine, for a total of 5,783 grams of methamphetamine

     (actual).

            On February 12,2020, federal agents executed a search warrant at 9110 East

     Florida Avenue, Apartment 1-202. The defendant and another individualwere present.

     The agents seized the $4,205 referenced in Section l.D above during the execution of

     the search warrant. The defendant agrees that the $4,205 is proceeds from the offense

     to which she is pleading guilty.

            VI. ADVISORY GUIDELINE COMPUTATION AND 3553 ADVISEMENT
            The parties understand that the imposition of a sentence in this matter is

     governed by 18 U.S.C. S 3553. ln determining the particular sentence to be imposed,


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     the Gourt is required to consider seven factors. One of those factors is the sentencing

     range computed by the Court under advisory guidelines issued by the United States

     Sentencing Commission. ln order to aid the Court in this regard, the parties set forth

     below their estimate of the advisory guideline range called for by the United States

     Sentencing Guidelines. To the extent that the parties disagree about the guideline

     computations, the recitation below identifies the matters which are in dispute.

           The Guideline calculation below is the good-faith estimate of the parties, but it is

     only an estimate. The parties understand that the government has an independent

     obligation to assist the Court in making an accurate determination of the conect

     guideline range. To that end, the government may make legal or factual arguments that

     affect the estimate below.

           A.     Base Offense Level: The base offense level is 38 because the relevant

                  conduct involved over 90,000 kilograms of converted drug weight. USSG

                  S 2D1.1(a)(5).

           B.     Specific Offense Characteristics: No specific offense characteristics in

                  S 2D1.1 apply.

           C.     Adjustments: No victim, role-related, or career offender adjustments

                  apply.

           D. 'Acceptance of Responsibility: The parties agree that the defendant
                  should receive a 3-level adjustment for acceptance of responsibility.

                  ussc s 3E1.1(b).

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          E.    Adjusted Total Offense Level: The parties agree that the defendanfs

                adjusted total offense level is 35.

          F     Criminal History Category: The parties understand that the defendant,s

                criminal history computation is tentative. The criminal history category is

                determined by the Court based on the defendant,s prior convictions.

                Based on the information currently available to the parties, the

                government estimates that the defendant's criminal history category is l.

                ussc s 481.1(b).
          G     lmprisonment: The advisory guideline range of imprisonment resulting

                from an offense level of 35 and a criminal history category of I is 168 to

                210 months' imprisonment. However, in order to be as accurate as

                possible, with the criminal history category undetermined at this time, the

                offense level estimated above could conceivably result in a range from

                168 months (bottom of Category l) to 365 months (top of Category Vl). ln

               any event, the guideline range would not exceed the statutory maximum

               applicable to the count of conviction.

          H    Fine Range: For an offense level of 35, the fine range would be $40,000

               to $10,000,000. USSG S 5E1 .2and 21 U.S.C. g 841(bX1XA).

          t.   Supervised Release: lf the Court imposes a term of supervised release,

               that term shall be at least five years. USSG S 5D1 .2(c);21 U.S.C. S

               841(bX1XA).


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           J.      Restitution: The parties agree that there is no restitution in this case.

           The parties understand that although the Court will consider the parties' estimate,

     the Court must make its own determination of the guideline range. ln doing so, the

     Court is not bound by the position of any party.

            No estimate by the parties regarding the guideline range precludes either party

     from asking the Court, within the overall context of the guidelines, to depart from that

     range at sentencing if that party believes that a departure is specifically authorized by

     the guidelines or that there exists an aggravating or mitigating circumstance of a kind, or

     to a degree, not adequately taken into consideration by the United States Sentencing

     Commission in formulating the advisory guidelines. Similarly, no estimate by the parties

     regarding the guideline range precludes either party from asking the Court to vary

     entirely from the advisory guidelines and to impose a non-guideline sentence based on

     other 18 U.S.C. S 3553 factors.

            The parties understand that the Court is free, upon consideration and proper

     application of all 18 U.S.C. S 3553 factors, to impose that reasonable sentence which it

     deems appropriate in the exercise of its discretion and that such sentence may be less

     than that called for by the advisory guidelines (in length or form), within the advisory

     guideline range, or above the advisory guideline range up to and including

     imprisonment for the statutory maximum term, regardless of any computation or position

     of any party on any 18 U.S.C. S 3553 factor.




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                                      VIL EilTIRE AGREEI'EHT
              This document states the parties,entire agreement. There are no other

        promises, agreements {or "side agreements"), terms, conditions, understandings,
                                                                                                or
        assuran@s, express or implied. ln entering this agreement, neither the Government

        nsr the defendant has relied, or is relying, on any terms, promises, conditions,
                                                                                           or
        assurances not expressly stated in this agreement.



                                                  Kenia



        Date:.!lg4/a1-
                                                 Attorney for Defendant


        Date:2151202_1
                                                 Cyrus Y. Chung
                                                 Attorney forthe United States




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